
PER CURIAM.
The State appeals the trial court's decision to withhold adjudication of guilt following a jury trial that found Joronjaye Leprino Teague guilty of fleeing and eluding a law enforcement officer in violation of section 316.1935(1), Florida Statutes (2017), and of possession of twenty grams of cannabis in violation of section 893.13(6)(a), Florida Statutes (2017).
*829" Section 316.1935(6) expressly prohibits the court from withholding adjudication of guilt for any violation of section 316.1935." State v. Culver, 63 So. 3d 891 (Fla. 5th DCA 2011) (citing State v. Warner, 50 So. 3d 99 (Fla. 4th DCA 2010) ; State v. Scriber, 991 So. 2d 969 (Fla. 4th DCA 2008) ).1 Consequently, we reverse the portion of the sentencing order withholding adjudication for fleeing and eluding a law enforcement officer and remand this matter to the circuit court to enter an adjudication of guilt. We affirm the sentence in all other respects.
AFFIRMED in Part, REVERSED in Part, and REMANDED.
EVANDER, C.J., WALLIS, and EISNAUGLE, JJ., concur.

We have considered and rejected Teague's argument regarding the constitutionality of section 316.1935(6).

